Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 1 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 2 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 3 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 4 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 5 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 6 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 7 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 8 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 9 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 10 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 11 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 12 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 13 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 14 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 15 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 16 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 17 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 18 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 19 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 20 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 21 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 22 of 23
Case 1:21-cr-00706-JPO Document 18 Filed 04/12/22 Page 23 of 23
